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13                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
14
     MICHELE BOLIN,                        ) Case No. 5:20-cv-02303-SP
15                                         ) JUDGMENT OF REMAND
              Plaintiff,
16   vs.                                   )
                                           )
17                                         )
     KILOLO KIJAKAZI, Acting
18   Commissioner of Social Security,      )
19                                         )
              Defendant.                   )
20   _______________________________ )
21        The Court, having granted the parties’ Joint Motion for Voluntary Remand to
22   Agency Pursuant to Sentence Four of 42 U.S.C. § 405(g) and Entry of Judgment
23   (“Joint Motion”) lodged concurrent with the lodging of a proposed Judgment of
24   Remand, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the
25   above-captioned action is remanded to the Commissioner of Social Security for further
26   proceedings consistent with the Joint Motion.
27   DATED: October 27, 2021
                                           HON. SHERI PYM
28                                         UNITED STATES MAGISTRATE JUDGE


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